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IN THE UNITED STATES DISTRICT COURT |} Ei)

FOR THE DISTRICT OF NEW MEXICO

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O05 SEP -6 PH 3:01

UNITED STATES OF AMERICA, |
Plaintiff CLA CER

, eAUUE
CR 05-1849 JH
SALVADOR ABEYTA.

Defendant,

NOTICE OF APPEARANCE
Undersigned counsel does hereby enter hig appearance on behalf of SALVADOR
ABEYTA, in the above captioned matter for all further.proceedings before this Court through the
filing of a notice of appeal, if required. The entry of appearance is contingent upon this Court's
granting of a motion for the admission of counsel to the bar of this court, pro hac vice. which has
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becn contemporancously filed herewith under separate cover.

p>
Dated this } of September, 2005.

By:

1300 E. Missouri
Suite 2206
Phoenix,Arizona 85014

my

